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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

Margaret Fromm,                               Civil File No. 0:18-cv-03197 (MJD/SER)

                         Plaintiff,

vs.                                              DEFENDANT’S NOTICE OF
                                              HEARING ON MOTION TO DISMISS
Delta Air Lines, Inc.,                                 COMPLAINT

                         Defendant.


TO:    Plaintiff Margaret Fromm and her attorneys of record: Brian Mildenberg,
       Mildenberg Law Firm, 1735 Market St., Suite 3750, Philadelphia, PA 19103;
       Matthew Weisberg, Weisberg Law, 7 South Morton Ave, Morton, PA 19070; and
       Michael Bryant, Bradshaw & Bryant, PLLC, 1505 Division Street, Waite Park, MN
       56387.

       PLEASE TAKE NOTICE that on a date and time to be determined, before The

Honorable Michael J. Davis, at the United States Courthouse, 300 South Fourth Street,

Minneapolis, Minnesota 55415, and pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure, Defendant Delta Air Lines, Inc. will move the Court for an Order dismissing

all of Plaintiff Margaret Fromm’s claims in the above-captioned case for failure to state a

claim upon which relief may be granted.
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Dated: April 9, 2019                    DORSEY & WHITNEY LLP


                                        By /s/ JoLynn M. Markison
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